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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
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                          Plaintiff(s),                                     JOINT PROPOSED
                                                                     CIVIL CASE MANAGEMENT PLAN
           -against-
                                                                             Civ.           (       ) (VMS)


                            Defendant(s).
   ------------------------------------------------------------ x
    The parties/counsel who conferred in drafting this joint proposed case management plan:

    For Plaintiff(s):
    For Defendant(s):

A. Do the parties request referral to the Court’s ADR program? Yes:                  No:

B. Do the parties consent to proceed before a Magistrate Judge pursuant to 28 U.S.C. § 636(c)?
       Yes:        If yes, fill out the AO 85 Notice, Consent and Reference of a Civil Action to a
                   Magistrate Judge Form and file it on ECF. https://www.uscourts.gov/forms/civil-
                   forms/notice-consent-and-reference-civil-action-magistrate-judge.
        No:       If no, do not indicate which party declines consent.

C. The parties may wish to engage in settlement discussions.
   If so, Plaintiff(s) will serve demand by            . Defendant(s) will respond by                               .

D. Defendant(s) will answer or otherwise respond to complaint by                           , if not yet done.

   The parties will serve Rule 26(a)(1) initial disclosures by                       , if not yet done.

   The parties will serve initial document requests and interrogatories on or before                            .

   Any joinder and/or amendments of the pleadings must be made by                               .

   The parties will complete fact discovery by                         .

   If the parties perform expert discovery, they will serve initial disclosures by                  ;
   initial expert reports by                  ; and rebuttal expert reports on or before               .
   All discovery, including expert depositions, will be completed by                     , and the parties
   will file a joint letter certifying the close of all discovery by this same date.

   Other considerations the parties wish to bring to the Court’s attention, such as the need for
   electronic discovery or confidentiality order:
